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        VIA ECF
                                                                            August 17, 2022
        Honorable Lorna G. Schofield
        United States District Judge
        Daniel Patrick Moynihan
        United States Courthouse
        500 Pearl Street
        New York, New York 10007

                  Re:        Network Data Rooms, LLC v. Saulrealism LLC et al (22-cv-02299-LGS)
                             Consent Application to stay Civil Case Management Plan and Scheduling Order

         Your Honor:

                Please be reminded that Goldberger & Dubin, P.C., represents the Defendants in this
         action, Saulrealism LLC, and Ryan Saul. On August 16, 2022 the Court issued an Order for the
         Plaintiff to Show Cause as to why the Court should not impose sanctions up to and including
         dismissal of this action and a referral to the United States Attorney’s Office for the Southern
         District of New York for perjury and statements made to this Court. [Dkt No. 75]. A briefing
         schedule was ordered, and an evidentiary hearing is scheduled for September 20, 2022.

               The Defendants request that the Court grant an application staying the Civil Case
         Management Plan and Scheduling Order, So Ordered on May 11, 2022 until after the
         determination of the Order to Show Cause. I have conferred the matter with Plaintiff’s counsel,
         and Plaintiff consents to this request.

               Pursuant to the Scheduling Order, the parties are to complete fact discovery by September
         15, 2022, including depositions. Due to the complexities of the case and the potential sanctions
         involved, it is requested that the period for fact discovery be extended or stayed.

                                                                            Respectfully submitted,
Application GRANTED. The deadline for fact discovery is
                                                                            Goldberger & Dubin, P.C.
extended to November 11, 2022. An amended case
management plan will issue separately. The Clerk of Court                   /s/Renee M. Wong
is respectfully directed to close the motion at Docket No.                  Renee M. Wong, Esq.
77.                                                                         On behalf of Defendants
                                                                            Of Counsel
Dated: August 19, 2022
       New York, New York
